       Case
      Case   1:17-cv-02989-ATDocument
           1:17-cv-02989-AT   Document  1629-2
                                      258-1      Filed
                                             Filed     02/13/23
                                                    08/03/18    Page
                                                              Page 1061of
                                                                        of369
                                                                           6




                IN THE UNITED STATES DISTRICT COURT FOR
                   THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


                                               )
DONNA CURLING, et al.                          )
                                               )
Plaintiff,                                     )
                                               )   CIVIL ACTION FILE NO.:
vs.                                            )   1:17-cv-2989-AT
                                               )
BRIAN P. KEMP, et al.                          )
                                               )
Defendant.                                     )
                                               )
                                               )

                      DECLARATION OF JASMINE CLARK


       JASMINE CLARK​ hereby declares as follows:

             1. I am have been a Georgia voter since 2006 and am currently

                registered to vote at 280 Braxton Place in Gwinnett County. I have

                been continuously registered to vote at this address since 2016.

             2. My precinct is Lucky Shoals Park and my polling place is located at

                4651 Britt Rd, Norcross, GA.

             3. I have not made changes to my voter registration while living at this

                addresss.




                                                                                   CLARK DECLARATION
       Case
      Case   1:17-cv-02989-ATDocument
           1:17-cv-02989-AT   Document  1629-2
                                      258-1      Filed
                                             Filed     02/13/23
                                                    08/03/18    Page
                                                              Page 1072of
                                                                        of369
                                                                           6




            4. I am a candidate for Georgia House of Representatives District 108 in

                the upcoming November, 2018 election.

            5. As a candidate, I have become aware of chronic problems in

                Georgia’s electronic election system and I follow the news of Georgia

                voting problems. I followed news reports of the security failures and

                breach of the KSU election server and voter files, as well as

                numerous problems reported with incorrectly assigned districts such

                as the inaccurate voter assignments of approximately 600 voters
                                                       1
                reported in House District 81.

            6. I frequently visit the My Voter Page section of the Secretary of State’s

                website (​https://www.mvp.sos.ga.gov/MVP/mvp.do​ ) as I campaign

                and help voters check their registrations, which I routinely encourage

                them to do.

            7. I frequently verify my own registration to be certain that unauthorized

                changes have not been made. I am aware of the security breaches in

                the voter files and want to be certain that my registration is never

                affected.


1

https://politics.myajc.com/news/state--regional-govt--politics/doraville-voters-might-have-been-given-wron
g-ballots/XIyZEXgkEwhuV4q9hrdFvM/




                                                                                                  CLARK DECLARATION
 Case
Case   1:17-cv-02989-ATDocument
     1:17-cv-02989-AT   Document  1629-2
                                258-1      Filed
                                       Filed     02/13/23
                                              08/03/18    Page
                                                        Page 1083of
                                                                  of369
                                                                     6




    8. On Election Day, July 24, 2018, I arrived at my precinct polling place

       at 4651 Britt Rd, Norcross, GA at approximately 7:50 a.m., planning

       to vote before going to work.

    9. A person in line in front of me at the voter check-in table was turned

       away without voting as I overhead the poll worker tell him that he was

       in the wrong polling place, although he insisted that it was his

       traditional polling place. I wondered if discrepancies were being

       encountered with the electronic pollbooks in my polling place.

    10. I presented my drivers license and after the poll official checked the

       electronic pollbook, he told me that I was not in the pollbook for

       precinct 012 but that I must go to the Chinese Christian Church on

       Britt Rd., another precinct nearby, but in a different District.

    11.I was completely confident of my polling place precinct assignment

       and location and refused to leave, but instead made phone calls and

       inquiries to try to vote in my polling place on a regular (not

       provisional) ballot.

    12.I talked with the precinct workers and managers and was repeatedly

       told that I was in the wrong precinct polling location and not on the

       electronic voter list for precinct 012.




                                                                           CLARK DECLARATION
 Case
Case   1:17-cv-02989-ATDocument
     1:17-cv-02989-AT   Document  1629-2
                                258-1      Filed
                                       Filed     02/13/23
                                              08/03/18    Page
                                                        Page 1094of
                                                                  of369
                                                                     6




    13.I opened my smart phone and pulled up my information on My Voter

       Page and showed the workers that I was present in the correct precinct

       according to the live Secretary of State’s website. They contined to

       insist that the electronic pollbook showed my voting location at

       another precinct polling place, and would not issue a ballot for my

       precinct to me.


    14.After spending approximately 25 minutes on the phone trying to

       resolve my problem, pollworkers told me that suddenly my name had

       appeared on the electronic pollbook for that voting location. There

       was no explanation offered as to how this was possible after so many

       election officials had previously checked the records, reportedly

       finding that I was not eligible to vote in this precinct 012.


    15.I was issued a voter access card and voted my electronic ballot on the

       touchscreen machine without incident, although I had spent at least a

       half-hour more at the polls than I had planned. Unlike other people I

       met that day who were turned away, I had the flexibility to stay to

       fight for my right to vote in the right precinct on the correct ballot.




                                                                           CLARK DECLARATION
         Case
        Case   1:17-cv-02989-ATDocument
             1:17-cv-02989-AT   Document  1629-2
                                        258-1      Filed
                                               Filed     02/13/23
                                                      08/03/18    Page
                                                                Page 1105of
                                                                          of369
                                                                             6




             16. Although I had no logical explanation for what happened, I took the

                 first opportunity at approximately 10 am that morning to record and
                                              2
                 post a video to Facebook to explain my experience to other voters

                 and offer advice on what to do if they encountered voting problems

                 because of their pollbook or voter registration issues.

             17. Both as a candidate and a citizen, I am deeply concerned about the

                 security failures of the electronic voting system, and the discrepancies

                 and errors in the electronic pollbooks that disenfranchise and

                 discourage people from voting.

             18.I heard people in the precinct 012 polling place who were turned away

                 say that they did not have time to travel to another polling place. I did

                 not hear pollworkes offer them a provisional ballot, making it likely

                 that these people did not get the opportunity to vote.

             19.I plan to vote in the November 2018 election and based on my

                 experience, I am concerned that I may be given an inaccurate ballot,

                 or that my name may not be found in the pollbook, or that I will be

                 otherwise disenfranchised.




2
    ​https://www.facebook.com/annakellyleary/posts/10155422963347096




                                                                                    CLARK DECLARATION
     Case
    Case   1:17-cv-02989-ATDocument
         1:17-cv-02989-AT   Document  1629-2
                                    258-1      Filed
                                           Filed     02/13/23
                                                  08/03/18    Page
                                                            Page 1116of
                                                                      of369
                                                                         6




        20.As a candidate, I am concerned about voters in my district potentially

           being disenfranchised and the impact on my House District 28 race

           and all other races on the ballot.

        21.As additional voting problems are discovered and exposed, I expect

           that voters will be discouraged from voting and voter confidence will

           continue to diminish, along with voter turnout, if the immediate

           corrections are not made to the election system.



     I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that

     the foregoing is true and correct.



     Executed on this date, July __,
                                 31 2018.




        _______________________________

Jasmine Clark




                                                                              CLARK DECLARATION
